UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

IME WATCHDOG, INC.,
Plaintiff,
-against-

SAFA ABDULRAHIM GELARDI, VITO GELARDI,
GREGORY ELEFTERAKIS, ROMAN POLLAK,
ANTHONY BRIDDA, NICHOLAS ELEFTERAKIS,
NICHOLAS LIAKIS, and IME COMPANIONS LLC,

Defendants.
x
SAFA GELARDI and IME COMPANIONS, LLC,
Third-Party Plaintiffs,
-against-
CARLOS ROA,
Third-Party Defendant.
x
CARLOS ROA,

Third-Party Counter-Claimant,
-against-

SAFA ABUDLRAHIM GELARDI, VITO GELARDI,
and IME COMPANIONS, LLC,

Third-Party Counter-Defendants.
x

Case No.: 1:22-cv-1032 (PKC) (JRC)

DECLARATION OF

DANIELLA LEVI, ESQ. IN

SUPPORT OF PLAINTIFF’S ORDER

TO SHOW CAUSE FOR CONTEMPT
AND FOR AN ORDER OF
ATTACHMENT PURSUANT TO RULE
64 OF THE FEDERAL RULES OF
CIVIL PROCEDURE & ARTICLE 62
OF THE NEW YORK CIVIL
PRACTICE LAW & RULES

Daniella Levi, Esq. declares, pursuant to 28 U.S.C. § 1746, under penalty of perjury that

the following is true and correct:
Case 1:22-cv-01032-PKC-JRC Document 198 Filed 04/18/23 Page 2 of 3 PagelD #: 3883

1. I am the sole shareholder and Chief Operating Officer (“COO”) of IME WatchDog,
Inc. (hereinafter “Plaintiff” or “IME WatchDog”), the Plaintiff in this case.

2. As such, I am familiar with all the facts and circumstances heretofore had herein
based upon my personal knowledge and a review of the documents I maintain at the IME
WatchDog office.

3. I hereby incorporate by reference herein all of the facts contained in my attorney’s
April 18, 2023 letter motion in support of the instant motion.

4. I respectfully request that this Court grant the relief requested herein.

I declare under penalty of perjury that the foregoing is true and correct. Executed on April

18
, 2023.

migele (Aga te 2033 21-03 EDT

Daniella Levi, Esq.
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2023-04-18 Levi Declaration in Support

Final Audit Report 2023-04-19
Created: 2023-04-19
By: Emanuel! Kataev (mail@emanuelkataev.com)
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